                     Case 4:01-cr-40057-JPG                                Document 487 Filed 11/02/12                               Page 1 of 4              Page ID
 A0245D               (Rev. 09/11) Judgment in a Criminal Case for Revocations       #638
                      Sheet 1



                                                UNITED STATES DISTRICT COURT
                                                                                  Southern District of Illinois

             UNITED STATES OF AMERICA                                                                     Judgment in a Criminal Case
                        v.
                               Todd A. Jackson

                                                                                                          Case No. 4:01CR40057-005
                                                                                                          USMNo. 06717-028
                                                                                                          Judith A. Kuenneke, AFPD
                                                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)                            as alleged below                              ofthe term of supervision.
0     was found in violation of condition(s)                            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty ofthese violations:


Violation Number                                                                   Nature of Violation                                       Violation Ended
Statutory                                The defendant committed to the offense of False Statements                                        02/03/2012



Standard# 3                              Defendant failed to sumit his reports timely                                                      11/30/2011
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       The defendant is sentenced as provided in pages 2 through _ _4:..__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0     The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notifY the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8357                                                       11/01/2012
                                                                                                                                                        ent
Defendant's Year of Birth:                      1966

City and State of Defendant's Residence:
Centralia, IL 62801
                                                                                                          J. Phi                                      District Judge
                                                                                                                              Name and Title of Judge


                                                                                                                 dh.c-.-<Ld. "1sate#i:?-
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  AO 2450                                                              #639
                (Rev. 09/ll) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                  Judgment- Page _   _,.2_ of         4
  DEFENDANT: Todd A. Jackson
  CASE NUMBER: 4:01CR40057-005


                                                                    IMPRISONMENT

         The defendant is hereby connnitted to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term of:
36 months




     t/ The court makes the following reconnnendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program




     t/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D     at  - - - - - - - - D a.m.                          D p.m.    on
            D     as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                    to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                               By ---~~~~~~~~~~~---­
                                                                                      DEPUTY UNITED STATES MARSHAL
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  AO 2450                                                            #640
              (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                    Judgment-Page      3      of        4
 DEFENDANT: Todd A. Jackson
 CASE NUMBER: 4:01CR40057-005
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
60 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
 ·The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  t{ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  o/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet ofthis judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  l)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted perm1ssion to do so by the probation officer;
  !0)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view ofthe probation officer;
  11)       the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics ani! shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatiOn requirement.
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 AO 2450                                                           #641
            (Rev. 09/ll) Judgment in a Criminal Case for Revocations
            Sheet 3A- Supervised Release

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 DEFENDANT: Todd A. Jackson
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                                         ADDITIONAL SUPERVISED RELEASE TERMS

X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.

X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
immediately notify the probation officer of the receipt of any indicated monies.

X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction,
drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
require residence and/or participation in a residential treatment facility or residential reentry center. Any participation will
require complete abstinence from all alcoholic beverages, illegal substances, and all other substances for the purposes of
intoxication. The defendant shall pay for the costs associated with substance abuse counseling and/ or testing based on a
capay sliding fee scale approved by the United States probation Office. Capay shall never exceed the total costs of
counseling. The number of tests shall not exceed 52 in a one year period.

X Based on prior compliance issues during supervision, , the defendant shall submit her person, residence, real property,
place of business, computer, electronic communication and data storage device or media, vehicle and any other property
under her control to a search, conducted by the United States Probation Officers and such other law enforcement
personnel as the probation officer may deem advisable and at the direction of the United States Probation Officer, at a
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of
a condition of supervision, without a warrant. Failure to submit to a search may be grounds for revocation. The defendant
shall inform any other residents that the premises may be subject to a search pursuant to this condition.

X All criminal monetary penalties, restitution and forfeitures previously imposed shall continue to remain in full force and
effect.
